                Case 2:20-cv-01176-BJR Document 19 Filed 09/25/20 Page 1 of 2




 1                                            THE HONORABLE BARBARA J. ROTHSTEIN

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 8                           UNITED STATES DISTRICT COURT
                            WESTERN DISTRICT OF WASHINGTON
 9                                    AT SEATTLE
10 LA COCINA DE OAXACA LLC,
   individually and on behalf of all others         No.: 2:20-cv-01176-BJR
11 similarly situated,
                                                    SECOND STIPULATION AND ORDER
12                       Plaintiff,                 TO EXTEND DEFENDANTS DEADLINE
                                                    TO ANSWER PLAINTIFFS COMPLAINT
13         v.
14 TRI-STATE INSURANCE COMPANY OF
   MINNESOTA,
15
                  Defendant.
16

17         Plaintiff La Cocina de Oaxaca LLC and Defendant Tri-State Insurance Company of

18 Minnesota (collectively, the Parties), by and through their counsel, have conferred and

19 hereby submit, pursuant to LCR 10(g), this stipulated motion and proposed order to extend

20 Defendants deadline to file an Answer or otherwise respond to Plaintiffs Complaint to

21 Friday, October 30, 2020.

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     SECOND STIPULATED MOTION                 TO EXTEND            PAGE 1    Bullivant|Houser|Bailey PC
     DEADLINE FOR DEFENDANT'S ANSWER                                         925 Fourth Avenue, Suite 3800
                                                                             Seattle, Washington 98104
     NO.: 2:20-CV-01176-BJR                                                  Telephone: 206.292.8930
              Case 2:20-cv-01176-BJR Document 19 Filed 09/25/20 Page 2 of 2




 1         IT IS SO STIPULATED.

 2   DATED:       September 25, 2020                 DATED:     September 25, 2020
     s/ Amy Williams-Derry                           s/ John A. Bennett
 3
     Amy Williams-Derry, WSBA #28711                 John A. Bennett, WSBA #33214
 4   Keller Rohrback L.L.P.                          Bullivant Houser Bailey, PC
     1201 Third Avenue, Suite 3200                   925 Fourth Avenue, Suite 3800
 5   Seattle, Washington 98101                       Seattle, Washington 98104
     Tel.: 206-623-1900                              Tel.: 503-228-6351
 6   E-mail: awilliams-derry@kellerrohrback.com      E-mail: john.bennett@bullivant.com
 7   Attorneys for Plaintiff                         Attorneys for Defendant
 8

 9                                            ORDER

10         The Court GRANTS the Parties Second Stipulation and Order to Extend Defendants

11 Deadline to Answer Plaintiffs Complaint. Defendant will file its Answer or response no

12 later than October 30, 2020.

13         IT IS SO ORDERED.

14         Dated this 25th day of September, 2020.

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                                                  BARBARA J. ROTHSTEIN
19                                                UNITED STATES DISTRICT JUDGE

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     SECOND STIPULATED MOTION                TO EXTEND            PAGE 2       Bullivant|Houser|Bailey PC
     DEADLINE FOR DEFENDANT S ANSWER                                           925 Fourth Avenue, Suite 3800
                                                                               Seattle, Washington 98104
     NO.: 2:20-CV-01176-BJR                                                    Telephone: 206.292.8930
